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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


DAVID PEPIN,

        Plaintiff,                                   Case No. 2:19-cv-42

v.                                                   Hon. Hala Y. Jarbou

WISCONSIN CENTRAL LTD.,

      Defendant.
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                                            ORDER

        On May 7, 2021, this Court entered an Order referring the motion to withdraw as counsel

for plaintiff (ECF No. 123) to Magistrate Judge Maarten Vermaat. Upon further review of this

matter, the Court determines that the referral to Magistrate Judge Vermaat is no longer warranted.

The Court will vacate the order of referral. Accordingly:

        IT IS HEREBY ORDERED that the May 7, 2021 Order referring the motion to withdraw

as counsel for plaintiff (ECF No. 123) to Magistrate Judge Maarten Vermaat is VACATED.



Date:     May 7, 2021                                 /s/ Hala Y. Jarbou
                                                     HALA Y. JARBOU
                                                     UNITED STATES DISTRICT JUDGE
